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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA et al.,

               Plaintiffs,

       v.                                         Civil Action No. 19-2232 (TJK)

DEUTSCHE TELEKOM AG et al.,

               Defendants.


                                          ORDER

       For the reasons to be explained in a forthcoming Memorandum Opinion, it is hereby

ORDERED that the United States’ Motion for Entry of Final Judgment, ECF No. 44, is

GRANTED. The proposed Final Judgment, ECF No. 2-2, will be entered as proposed.



       SO ORDERED.

                                                         /s/ Timothy J. Kelly
                                                         TIMOTHY J. KELLY
                                                         United States District Judge

Date: April 1, 2020
